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                              UNITED STATES OF AMERICA
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION

UNITED STATES OF AMERICA,

               Plaintiff(s),

v.                                                           Case No. 2:06-mj-25-07

MARK ALLEN KELLER, JR.,                                      HON. TIMOTHY P. GREELEY

               Defendant(s).
                                         /

                                    ORDER OF DETENTION

               Defendant appeared before the undersigned on October 3, 2006, for purposes of a

preliminary examination and detention hearing. At that time, defendant advised the court he was

waiving his right to both hearings at this time. Accordingly, IT IS HEREBY ORDERED that

defendant be detained pending sentencing.

               IT IS FURTHER ORDERED that the defendant shall be committed to the custody

of the Attorney General or his designated representative for confinement in a corrections facility

separate pending sentencing. The defendant shall be afforded a reasonable opportunity for

private consultation with defense counsel. On order of a court of the United States or on request

of an attorney for the government, the person in charge of the corrections facility shall deliver

the defendant to the United States Marshal for the purpose of an appearance in connection with a

court proceeding.

               IT IS SO ORDERED.

                                              /s/ Timothy P. Greeley
                                              TIMOTHY P. GREELEY
                                              UNITED STATES MAGISTRATE JUDGE

Dated: October 4, 2006
